                                   Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 1 of 23


AO 442 (Rev. 11111)         Arrest Warrant



                                                               UNITED STATES DISTRICT COURT
                                                                                               for the

                                                                                   District of Col umbia

                       United States of America
                                                          v.                                     )   Case: 1:24-mj-00126
                                                                                                 )   Assigned To : Judge Zia                   . faruqui
                                  Darl McDorman
                                                                                                 )   Assign. Date: 4/9/2024
                                                                                                 )   Oesaription: COMPLAINT                   'IV/ARREST VVARRl\NT
                                                                                                 )
                                                                                                 )
                                              Defendant


                                                                                  ARREST WARRANT
To:       Any authorized                        law enforcement         officer


           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary                                                         delay
(name of person to be arresled)                                                                          Darl McDorman
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        o Superseding Indictment    o Information       o Superseding Information                                                        1'1 Complaint
o Probation Violation Petition    o Supervised Release Violation Petition    o Violation Notice                                                      0 Order of the Court

This offense is briefly described as follows:

 18 U.S.c. § 111(a)(I) and (b) - Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
 18 U. S.C. § 1752(a)( I) and (b)( I)(A) - Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon,
 18 U.S.c. § 17S2(a)(2) and (b)( I)(A) - Disorderly and Disntptive                           Conduct in a Restricted Building or Grounds with a Deadly or Dangerous
 Weapon,
 18 U. S.c. § I 752(a)(4) and (b)(1 )(A) - Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon,
 40 U.S.c. § 5L04(e)(2)(D) - Disorderly Conduct in a Capitol Building,
 -10 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings.
                                                                                                                                                 Zia M. Faruqui
Date: __         -"-04-'-'-1-""09"-'-1=2"'-'02"--4'---_
                                                                                                                          Issuing offieer·s signature


City and state:                                            Washin   ton, D.C.                                 Zia M. Faru ui U.S. Magistrate Judg,_e                         _
                                                                                                                           Printed name and title


                                                                                              Return

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                                                                                                     , and the person was arrested on (dale)               I
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       Case 1:24-mj-00126-ZMF     1-1 Filed
                              Document      04/11/24
                                         6 Filed      Page Page
                                                 04/11/24  1 of 10
                                                                 3 ofPageid#:
                                                                      23      2




                                   STATEMENT OF FACTS
        Your affiant,                    is a Special Agent assigned to the Federal Bureau of
Investigation, Richmond Field Office, Charlottesville Resident Agency. In my duties as a Special
Agent, I investigate criminal and national security matters. Currently, I am tasked with multiple
investigative cases regarding criminal activity in and around the United States Capitol (“U.S.
Capitol”) grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government Agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the
2020 Presidential Election, which had taken place on November 3, 2020. The joint session began
at approximately 1:00 p.m. (all times herein are Eastern Standard Time). Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary, and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the U.S. Capitol and the proceedings underway inside.
       At such time, the certification proceedings were still under way and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the U.S. Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
 Case 5:24-mj-00027-JCH  Document
       Case 1:24-mj-00126-ZMF     1-1 Filed
                              Document      04/11/24
                                         6 Filed      Page Page
                                                 04/11/24  2 of 10
                                                                 4 ofPageid#:
                                                                      23      3




        During national news coverage of the aforementioned events, video footage, which
appeared to be captured on mobile devices and closed captioning cameras, of persons present on
the scene depicted evidence of violations of local and federal law, including scores of individuals
inside the U.S. Capitol building without authority to be there.
                                 Facts Specific to DARL MCDORMAN
        DARL MCDORMAN, was identified as an individual who was on the grounds of the U.S.
Capitol for several hours on January 6, 2021. He wore a plaid shirt, baseball-style cap, dark blue
or black jacket, a backpack, and red sneakers. In that time, he was involved in several assaults and
violent acts.
        On August 13, 2021, the FBI received a tip from Witness 1, who observed a social media
post by MCDORMAN. In the post, MCDORMAN stated he was part of the Capitol riot and
carried a person he claimed had died during the breach. Witness 1 provided two publicly available
January 8, 2021 posts on MCDORMAN’s Facebook page which described his involvement in the
January 6, 2021 Capitol riot. He was also depicted on another person’s Facebook page in a picture
taken on January 6, 2021, in Washington, D.C. See Images 1A and 1B. Darl McDorman is circled
in red wearing plaid shirt, baseball-style cap, dark blue or black jacket, a backpack, and red
sneakers. See Image 1B.




                    Image 1A                                              Image 1B

       On September 13, 2021, FBI conducted an interview with Witness 2, who had attended
high school with MCDORMAN. On November 7, 2022, FBI conducted an additional interview
with Witness 2, who was shown photographs of MCDORMAN on the Capitol Grounds on January
6, 2021, and was able to identify the person in Images 1A, 1B, 1C and Image 2 as MCDORMAN.
Case 5:24-mj-00027-JCH  Document
      Case 1:24-mj-00126-ZMF     1-1 Filed
                             Document      04/11/24
                                        6 Filed      Page Page
                                                04/11/24  3 of 10
                                                                5 ofPageid#:
                                                                     23      4
 Case 5:24-mj-00027-JCH  Document
       Case 1:24-mj-00126-ZMF     1-1 Filed
                              Document      04/11/24
                                         6 Filed      Page Page
                                                 04/11/24  4 of 10
                                                                 6 ofPageid#:
                                                                      23      5




   MCDORMAN Throws Bottle at Officers - Assault Captured on MPD Officer J.S.’s BWC
        At approximately 2:41 pm, numerous USCP and MPD officers, after having had their
positions on the Lower West Terrace of the U.S. Capitol overrun by rioters (including by
MCDORMAN), fell back and began entering the Lower West Terrace tunnel, in an effort to
prevent rioters from entering the U.S. Capitol building through that entrance. The officers
attempted to secure the exterior glass doors behind them. At approximately 2:42 pm, rioters began
entering the tunnel and fighting with the officers. The rioters broke the glass and forced the doors
open. In response, the USCP and MPD officers formed a police line blocking that entrance to the
U.S. Capitol building.
        From approximately 2:42 pm and on, numerous rioters were consistently attempting to
breach the police line that formed in the tunnel. The rioters used various weapons, as well as the
force of their bodies, in an attempt to overcome the officers. The crowd was pushing against police
and the police, which ran several officers deep, was pushing to get the rioters out of the doorway
while fending off repeated attempts by the rioters to assault the officers. Many of the rioters
assaulted MPD and USCP officers by hurling objects towards the officers, physically
striking officers with batons and other blunt instruments, using lights to distract and disorient the
officers, using electrical shock devices, crushing officers between the doors and walls of the
confined space, and by deploying chemical sprays and fire extinguishers against the officers. At
approximately 3:18 pm, officers were able to advance and start pushing the rioters back toward
the mouth of the tunnel. During this process of advancing, officers continued to fend off repeated
attempts by the violent rioters to assault them. At approximately 3:21 pm, officers were steadily
maintaining a police line at the mouth of the tunnel. From 3:21 pm and on, rioters consistently
disturbed the police line and assaulted and pushed against officers.
At approximately 4:34 pm, as the crowd of violent rioters continued their efforts to breach the
tunnel and as the officers continued to attempt to maintain the police line and were fending off
ongoing assaults by the rioters, MCDORMAN approached the tunnel and stood near the tunnel
entrance. A rioter farther in the crowd threw what appeared to be a bottled beverage (hereafter
referred to as object 1) towards the line of officers. See Image 4. Object 1 landed on the ground
and did not appear to hit the officers. MCDORMAN proceeded to immediately pick up object 1
from the ground and throw it directly at the officers. See Image 5. Image 5 shows MCDORMAN’s
arm held up in air with the bottle in his hand right before he violently threw it at police officers.
Case 5:24-mj-00027-JCH  Document
      Case 1:24-mj-00126-ZMF     1-1 Filed
                             Document      04/11/24
                                        6 Filed      Page Page
                                                04/11/24  5 of 10
                                                                7 ofPageid#:
                                                                     23      6
 Case 5:24-mj-00027-JCH  Document
       Case 1:24-mj-00126-ZMF     1-1 Filed
                              Document      04/11/24
                                         6 Filed      Page Page
                                                 04/11/24  6 of 10
                                                                 8 ofPageid#:
                                                                      23      7




       Approximately one second later, MCDORMAN threw what appeared to be a different long
metal brown pipe at the officers again. See Images 8-9.




                    Image 8                                                   Image 9

        Approximately 40 seconds later, MCDORMAN picked up what appeared to be a wooden
flagpole off the ground and struck officers with it repeatedly. See Images 10 - 11. MCDORMAN’s
conduct occurred as numerous other rioters were repeatedly assaulting officers, including by
striking and throwing objects at officers.




                    Image 10                                             Image 11

       Approximately two minutes later, MCDORMAN was seen talking to an unidentified rioter
and several seconds later was seen holding what appeared to be a metal object, which he then
passed it to rioters closer to the tunnel. See Image 12. Seconds later, MCDORMAN took what
appeared to be a desk drawer and passed it to the rioters closer to the tunnel. See Image 13. From
my investigation, during the riot, some rioters passed one another items such as metal poles, flags,
and other objects to use in the ongoing assaults against police officers.
Case 5:24-mj-00027-JCH  Document
      Case 1:24-mj-00126-ZMF     1-1 Filed
                             Document      04/11/24
                                        6 Filed      Page Page
                                                04/11/24  7 of 10
                                                                9 ofPageid#:
                                                                     23      8
Case 5:24-mj-00027-JCH   Document
      Case 1:24-mj-00126-ZMF      1-1 Filed
                              Document      04/11/24
                                        6 Filed      PagePage
                                                04/11/24  8 of 10
                                                               10 ofPageid#:
                                                                     23      9
Case 5:24-mj-00027-JCH  Document
      Case 1:24-mj-00126-ZMF     1-1 Filed
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                                                04/11/24  9 of 10  Pageid#:
                                                                11 of 23    10
Case 5:24-mj-00027-JCH  Document
       Case 1:24-mj-00126-ZMF    1-1 Filed
                              Document  6 04/11/24   Page 10
                                           Filed 04/11/24    of 10
                                                          Page  12 ofPageid#:
                                                                      23      11




        Based on the foregoing, your affiant submits that there is probable cause to believe that
DARL MCDORMAN violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to use a
deadly or dangerous weapon to forcibly assault, resist, oppose, impede, intimidate, or interfere
with a person designated in 18 U.S.C. § 1114, which includes certain federal officers or employees
or those assisting them, where such acts involve physical contact with the victim of that assault,
while the officer or employee is engaged in or on account of the performance of official duties.
         Further, based on the foregoing, your affiant submits that there is probable cause to believe
that DARL MCDORMAN violated 18 U.S.C. §§ 1752(a)(1), (2), (4) and (b)(1)(A), which makes
it a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; (4)
knowingly engages in any act of physical violence against any person or property in any restricted
building or grounds; and (b)(1)(A) using a deadly or dangerous weapon. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.
        Finally, your affiant submits there is probable cause to believe that Darl MCDORMAN
violated 40 U.S.C. §§ 5104(e)(2)(D), and (F), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (F) engage in an act of physical violence in the Grounds or any of
the Capitol Buildings.




 Attested to by the applicant in accordance
 with the requirements of Fed. R. Crim.
 P. 4.1 by telephone,
 this WKday of $SULO 2024.
                                                          Zia M.
                                                          Faruqui
                                          _________________________________
                                          =,$0)$5848,
                                          U.S. MAGISTRATE JUDGE
          Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 13 of 23


                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                    CRIMINAL MINUTES - INITIAL APPEARANCE - RULE 5
                            (Complaint/Indictment/Other District)

Case No.: 5:24mj00027                                        Date: 4/11/2024

Defendant(s): Darl McDorman, csustody                        Counsel: Mary Maguire, FPD

PRESENT:        Presiding Judge:        Joel C. Hoppe, USMJ        TIME IN COURT: 11:21-11:50=29 minutes
                Deputy Clerk:           Karen Dotson
                Court Reporter:         Karen Dotson, FTR
                AUSA:                   Sean Welsh
                USPO:                   Monica Campbell
                Case Agent:             FBI SA Buracker
                Interpreter:            not needed


       Defendant arrested on warrant from District of D.C.

RIGHTS:

       Defendant advised of charges and nature of proceedings and provision of Rule 20.
       Defendant advised of right to retain counsel or to request that counsel be appointed.
       Defendant advised of right to preliminary exam.
       Defendant advised of right to identity hearing.
       Defendant advised of right to a bond/detention hearing.

COUNSEL:

       Defendant present with counsel.
       Defendant present without counsel.
       Defendant requests appointment of counsel. CJA 23 Financial Affidavit completed and present today.

IDENTITY:

       Identity hearing held.
       Identity hearing waived.*

PRELIMINARY HEARING:

       Preliminary hearing held.
       Preliminary hearing waived.*
       Defendant requests preliminary hearing in prosecuting district.*

RELEASE/DETENTION:

       Defendant does not contest detention.
       Government moves for detention.
       Detention hearing held. Record brief minutes of proceeding.
       Government does not oppose bond. Bond set at $10,000 Unsecured bond.
       Order of Commitment to Another District (AO 94).
       OR
       Conditions of Release/Bond to enter
.
          Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 14 of 23



Additional Information:

All parties present in person
Next court appearance with D.C. is on April 23rd at 12:30 pm by Zoom (Zoom information given to the dft)
Conditions of release reviewed with dft in open court
Dft released




*REMINDER: FORM AO466A - WAIVER OF RULE 5 & 5.1 HEARING MUST BE COMPLETED AND SIGNED BY
DEFENDANT.
Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 15 of 23
Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 16 of 23
Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 17 of 23
Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 18 of 23
Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 19 of 23
Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 20 of 23
Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 21 of 23
                 Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 22 of 23
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                                  U.S. District Court
                       Western District of Virginia (Harrisonburg)
                  CRIMINAL DOCKET FOR CASE #: 5:24-mj-00027-JCH-1


Case title: USA v. McDorman                                      Date Filed: 04/11/2024
Other court case number: 1:24mj00126 USDC - District of D.C.     Date Terminated: 04/11/2024


Assigned to: Magistrate Judge Joel C.
Hoppe

Defendant (1)
Darl McDorman                                    represented by Mary Elizabeth Maguire
TERMINATED: 04/11/2024                                          Office of the Federal Public Defender
                                                                401 E. Market Street, Suite 106
                                                                Charlottesville, VA 22902
                                                                540-777-0895
                                                                Email: mary_maguire@fd.org
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Public Defender or
                                                                Community Defender Appointment
                                                                Bar Status: US-Govt-Agency

Pending Counts                                                   Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                                Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                       Disposition
None



Plaintiff
                  Case 1:24-mj-00126-ZMF Document 6 Filed 04/11/24 Page 23 of 23
USA                                          represented by Duty Assistant - Harrisonburg
                                                            United States Attorneys Office
                                                            Western District of Virginia
                                                            116 N. Main Street, Room 130
                                                            Harrisonburg, VA 22802
                                                            Email:
                                                            USAVAW.ECFDutyHburg@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: US Attorney
                                                            Bar Status:
Email All Attorneys
Email All Attorneys and Additional Recipients


Date Filed        #    Docket Text
04/11/2024             Arrest - 5(c)(3) of Darl McDorman (kld)
04/11/2024         1 Charging Documents from District of D.C. - Rule 5(c)(3) as to Darl McDorman
                     (Attachments: # 1 Statement of Facts, # 2 Unredacted Complaint, # 3 Unredacted
                     Statement of Facts, # 4 arrest warrant) (kld).
04/11/2024         2 NOTICE OF HEARING as to Darl McDorman (CUSTODY) (FTR) Initial Appearance -
                     Rule 5c3 set for 4/11/2024 11:00 AM in Charlottesville before Magistrate Judge Joel C.
                     Hoppe.(kld)
04/11/2024         3 Minute Entry for proceedings held before Magistrate Judge Joel C. Hoppe:Initial
                     Appearance Rule 5(c)(3) Complaint/Indictment - Other District as to Darl McDorman held
                     on 4/11/2024, Bond Hearing as to Darl McDorman held on 4/11/2024. Defendant released
                     on Bond. (FTR Operator: Karen Dotson)(kld)
04/11/2024         4 CJA 23 Financial Affidavit as to Darl McDorman (kld)
04/11/2024         5 ORAL ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Darl McDorman.
                     Entered by Magistrate Judge Joel C. Hoppe on 4/11/24. This Notice of Electronic Filing is
                     the Official ORDER for this entry. No document is attached.(kld)
04/11/2024         6 WAIVER of Rule 5(c)(3) Hearing by Darl McDorman (kld)
04/11/2024         7 ORDER Setting Conditions of Release as to Darl McDorman (1) $10,000 Unsecured.
                     Signed by Magistrate Judge Joel C. Hoppe on 4/11/24. NOTE TO RECEIVING COURT:
                     Please access WDVA CM/ECF NextGen to retrieve needed documents and the Docket
                     Sheet related to this proceeding. (kld)
04/11/2024         8 Unsecured Bond Entered as to Darl McDorman in amount of $10,000 (kld)
04/11/2024         9 FTR Log Notes as to Darl McDorman for Rule 5 hearing in the Charlottesville Division in
                     CR3 held before Judge Joel C. Hoppe on 4/11/24. In accordance with 28 USC 753(b), I
                     certify that I monitored the digital recording of this proceeding and that it is a true and
                     correct record, that it is sufficiently intelligible when played on the FTR (For the Record)
                     Player, and that it can be transcribed without undue difficulty. FTR Operator: Karen
                     Dotson (kld)
04/12/2024       10 Arrest Warrant Returned Executed on 4/11/2024 in case as to Darl McDorman. (kld)
